       Case 4:18-cv-03451-JST Document 293 Filed 05/12/22 Page 1 of 2




 1
 2
 3
 4
 5
 6
 7
 8
 9
10                           UNITED STATES DISTRICT COURT

11              NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

12
13 ATARI INTERACTIVE, INC.,                 Case No. 4:18-cv-03451-JST
                                            [Related to Case No. 19-cv-00111-JST]
14              Plaintiff,
                                            Judge:   Hon. Jon S. Tigar
15        vs.

16 REDBUBBLE, INC.,
                                            [PROPOSED] ORDER RE-TAXING COSTS
17              Defendant.                  AWARDED TO DEFENDANT
                                            REDBUBBLE, INC.
18
     AND RELATED ACTIONS
19
20
21
22
23
24
25
26
27
28
                                                                    Case No. 4:18-cv-03451-JST
                             [PROPOSED] ORDER RE-TAXING COSTS
       Case 4:18-cv-03451-JST Document 293 Filed 05/12/22 Page 2 of 2




 1         Before the Court is the parties’ stipulation regarding the compensable costs to be awarded

 2 to Defendant Redbubble, Inc. Good cause appearing, the Court hereby re-taxes costs for Point
 3 Multimedia, LLC’s work on visual aids in the amount of $27,500.00.
 4         IT IS SO ORDERED.
                12
 5 DATED: May ______, 2022

 6
 7
                                                 Honorable Jon S. Tigar
 8                                               United States District Court Judge
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    1                         Case No. 4:18-cv-03451-JST
                                 [PROPOSED] ORDER RE-TAXING COSTS
